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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




  UNITED STATES OF AMERICA                               \Iag, No. 13-2550(10) (DEA)



  MENDEL EPSTEIN, et a!,                                  BAIL MODIFICATION ORDER



         Defendant SHOLOM SHUCHAT having been arrested on a criminal complaint

  charging the defendant xith conspiracy to kidnap. in iolation of Title 18. United States

  Code, Section 1201 (c): and the defendant ha ing appeared before the Court for an initial

  appearance on October 10, 2013; and having been released to home confinement

  and electronic monitoring subject to the supervision of Pretrial Services in the

  Eastern District of New York; and             ith the consent of the United States:

         IT IS on this’idav of December. 2013.

        ORDERED that Sholom Shuchat may be released from home confinement

 daily, Monday through Friday at 7:00 a.m., to attend morning prayers at 768

 Montgomery Avenue in Brooklyn, Ne York and thereafter to travel to Newark. New Jersey,

 to work at the offices of IDT at 550 Broad Street.         ark Ne Jerse\ according to the

 fo11o\ing ork schedule:

        9:00 a.m.   --   6:00 p.m. on Monday. Tuesday and Thursday, returning home by 7:30 p.m.

        9:00 a.m.   --   5:00 p.m. on Wednesday. traveling to a gym at 1706 McDonald Avenue,

        BrookRn. Ne\ York. for ph\sical exercise, returning home by 9:00 p.m.

        9:00 am.         12:30 p.m. on Friday returning home by 2:00 pm: and it is further
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         ORDERED that Sholom Shuchat may he released from home confinement to attend

 Sabbath prayers on Friday and Saturday from 3:45p.m.    —   6: 15 p.m. and on Saturday from

 9:45 a.m.    2:00 p.m. at 580 Crown Street. Brooklyn. New York; and it is further

         ORDERED that Sholom Shuchat may be released from home confinement on Sunday

 from 7:30 a.m. to travel to a gym at 1706 McDonald Avenue, Brooklyn. Ne York for

 physical exercise then travel to 226-20 Francis Lewis Blvd. Queens, New York, for morning

 prayers and religious study between 11:00 a.m. and 3:00 p.m., returning home h 5:00 p.m.:

 and it is further

         ORDERED that Sholom Shuchat shall be subject to GPS monitoring under the

 supervision of his Pretrial Services officer.




                                                       HON. DØULAS E. ARPERT
                                                       United Shtc Magistrate Judge
